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 7

 8                                  IN THE UNITED STATES DISTRICT COURT

 9                                      EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR-00235 TLN

12                                    Plaintiff,          STIPULATION AND REQUEST REGARDING
                                                          BRIEFING SCHEDULE ON DEFENDANT’S
13                             v.                         MOTIONS AND FOR CONTINUANCE OF
                                                          JUDGMENT AND SENTENCING; ORDER
14   DUMITRU MARTIN,

15                                    Defendant.

16

17

18                                                 STIPULATION

19          The United States, through Assistant United States Attorneys Todd A. Pickles and Michael M.

20 Beckwith, and the defendant Dumitru Martin, through his counsel of record Malcolm Segal, hereby

21 stipulate to, agree to, and request the following:

22          1.       The United States shall respond to defendant’s motion for a new trial, motion for

23 judgment of acquittal, and motion for reconsideration of Rule 16 order on or before January 2, 2017.

24          2.       Defendant may file a reply or replies to the prosecution’s briefs on or before January 16,

25 2017.

26          3.       The matter shall be heard at 9:30 a.m. on January 26, 2017 before the Honorable Troy L.

27 Nunley.

28
      Stipulation re: Briefing Schedule and J&S           1
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 1          4.       The judgment and sentencing hearing, currently set for January 26, 2017, shall be

 2 continued to February 16, 2017, at 9:30 a.m. The dates for disclosure of the presentence investigation

 3 report, informal and formal objections thereto, and for the filing of any sentencing memorandum shall

 4 be reset to be consistent with the sentencing date of February 16, 2017.

 5          IT IS SO STIPULATED AND REQUESTED.

 6 Dated: December 19, 2016                               PHILLIP A. TALBERT
                                                          United States Attorney
 7

 8                                                        /s/ Todd A. Pickles
                                                          TODD A. PICKLES
 9                                                        MICHAEL M. BECKWITH
                                                          Assistant United States Attorneys
10

11 Dated: December 19, 2016                               SEGAL & ASSOCIATES, PC
12
                                                          /s/ Malcolm Segal
13                                                        MALCOLM SEGAL
                                                          For Defendant Dumitru Martin
14

15                                                   ORDER
16          For the reasons stated above and for good cause showing, the Court hereby ADOPTS the parties’
17 stipulation and GRANTS the request to set a briefing schedule and to continue the judgment and

18 sentencing to the dates set forth above.

19          IT IS SO FOUND AND SO ORDERED.
20 Dated: December 19, 2016

21
                                                                     Troy L. Nunley
22                                                                   United States District Judge
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      Stipulation re: Briefing Schedule and J&S          2
